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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )         Chapter 11
    In re                                                       )
                                                                )         Case No. 19 – 11047 (KG)
    CLOUD PEAK ENERGY INC., et al.,                             )
                                                                )         (Jointly Administered)
                               1
                    Debtors.                                    )
                                                                )         Re: Docket Nos. 52, 272, 369, 493 & 541
                                                                )

            SECOND AMENDED NOTICE OF THE AUCTION AND SALE HEARING

        PLEASE TAKE NOTICE that, on May 10, 2019, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) each filed a voluntary petition for relief under
chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for the
District of Delaware (the “Court”).

        PLEASE TAKE FURTHER NOTICE that, on May 13, 2019, the Debtors filed the
Motion of Debtors for Entry of Orders (A)(I) Approving Bidding Procedures, (II) Scheduling the
Bid Deadlines and the Auction,(III) Scheduling Hearings and Objection Deadlines with Respect
to the Sale, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving Contract
Assumption and Assignment Procedures, and (VI) Granting Related Relief and (B)(I) Approving
the Sale of the Assets Free and Clear of All Liens, Claims, Interests, and Encumbrances,
(II) Approving Assumption and Assignment of Executory Contracts and Unexpired Leases, and
(C) Granting Related Relief [Docket No. 52] (the “Motion”) with the Court.2

        PLEASE TAKE FURTHER NOTICE that, on June 13, 2019, the Court entered the
Order (I) Approving Bidding Procedures, (II) Scheduling the Bid Deadlines and the Auction,
(III) Scheduling Hearings and Objection Deadlines With Respect to the Sale, (IV) Approving the
Form and Manner of Notice thereof, (V) Approving Contract Assumption and Assignment
Procedures, and (VI) Granting Related Relief [Docket No. 272] (the “Bidding Procedures

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     The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
     are: Antelope Coal LLC (8952); Arrowhead I LLC (3024); Arrowhead II LLC (2098); Arrowhead III LLC
     (9696); Big Metal Coal Co. LLC (0200); Caballo Rojo LLC (9409); Caballo Rojo Holdings LLC (4824); Cloud
     Peak Energy Finance Corp. (4674); Cloud Peak Energy Inc. (8162); Cloud Peak Energy Logistics LLC (7973);
     Cloud Peak Energy Logistics I LLC (3370); Cloud Peak Energy Resources LLC (3917); Cloud Peak Energy
     Services Company (9797); Cordero Mining LLC (6991); Cordero Mining Holdings LLC (4837); Cordero Oil and
     Gas LLC (5726); Kennecott Coal Sales LLC (0466); NERCO LLC (3907); NERCO Coal LLC (7859); NERCO
     Coal Sales LLC (7134); Prospect Land and Development LLC (6404); Resource Development LLC (7027);
     Sequatchie Valley Coal Corporation (9113); Spring Creek Coal LLC (8948); Western Minerals LLC (3201);
     Youngs Creek Holdings I LLC (3481); Youngs Creek Holdings II LLC (9722); Youngs Creek Mining Company,
     LLC (5734). The location of the Debtors’ service address is: 385 Interlocken Crescent, Suite 400, Broomfield,
     Colorado 80021.
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     All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Motion or Bidding Procedures Order (as defined herein), as applicable.
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Order”) approving, among other things, the Debtors’ Bidding Procedures, a copy of which was
attached to the Bidding Procedures Order as Exhibit 1.

        PLEASE TAKE FURTHER NOTICE that, on June 28, 2019, the Debtors filed the
Notice of the Auction and Sale Hearing [Docket No. 369] (the “Auction and Sale Notice”) setting
forth the proposed key dates and deadlines for the Auction and Sales process.

       PLEASE TAKE FURTHER NOTICE that, on July 31, 2019, the Debtors filed the
Amended Notice of the Auction and Sale Hearing [Docket No. 541] (the “Amended Auction and
Sale Notice”) amending certain of the proposed key dates and deadlines set forth in the Auction
and Sale Notice.

      PLEASE TAKE FURTHER NOTICE that, pursuant to the Auction and Sale Notice, the
Bid Deadline was July 25, 2019 at 5:00 p.m. (prevailing Eastern Time).

        PLEASE TAKE FURTHER NOTICE that, on August 6, 2019, the Debtors designated
certain Eligible Bidders as Qualified Bidders.

       PLEASE TAKE FURTHER NOTICE that, as authorized by the Bidding Procedures
Order, pursuant to Section F.xii of the Bidding Procedures, the Debtors may, among other things,
extend or modify any of the dates and deadlines set forth in the Bidding Procedures. See Bidding
Procedures Order, ¶4; Bidding Procedures, F.xii.

       PLEASE TAKE FURTHER NOTICE that, in order to ensure that the Auction and Sales
process maximizes value for the benefit of the Debtors’ estates, the following key dates and
deadlines in the Auction and Sale Notice have been amended by the Debtors, pursuant to the
Bidding Procedures Order and Bidding Procedures, and are as follows:

         a.        Stalking Horse Bidder and Bid Protections. The Debtors may, at any time until
                   two calendar days prior to the date of the Auction, select one or more parties to be
                   a Stalking Horse Bidder with respect to some or all of the Debtors’ Assets.

         b.        Auction. August 15, 2019, at 11:00 a.m. (prevailing Eastern Time) is the date
                   and time that the Auction, if any, will be held at Centerview Partners LLC, 31 West
                   52nd Street, 22nd Floor, New York, New York, 10019, or such later date, time, and
                   location, as selected by the Debtors.

         c.        Sale Objection Deadline. August 16, 2019, at 11:00 a.m. (prevailing Eastern
                   Time) is the deadline by which all objections to the Sale (other than the Assigned
                   Contract Objections and Supplemental Assigned Contract Objections which are
                   subject to the Assigned Contract Objection Deadline and Supplemental Assigned
                   Contract Objection Deadline, respectively) must be filed with the Court.
                   Objections, if any, to the Sale must be (i) in writing; (ii) comply with the applicable
                   provisions of the Bankruptcy Rules, Local Rules, and any order governing the
                   administration of these chapter 11 cases; (iii) state with specificity the nature of the
                   objection with any applicable and appropriate documentation in support thereof;
                   and (iv) be filed with the Court no later than the Sale Objection Deadline.

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         d.        Sale Hearing. The hearing approving the Sale to the Winning Bidder(s) shall take
                   place before the Court on August 19, 2019, at 10:00 a.m. (prevailing Eastern
                   Time).

        PLEASE TAKE FURTHER NOTICE that, the amended key dates and deadlines apply
to the potential Lands Sale (as defined in the Debtors Notice of Marketing of Real Property [Docket
No. 493]).

        PLEASE TAKE FURTHER NOTICE that, copies of the Motion, the Bidding
Procedures Order, the Bidding Procedures, and all other pleadings filed in these chapter 11 cases
can be obtained free of charge on the website of the Debtors’ claims and noticing agent at:
http://cases.primeclerk.com/cloudpeakenergy.

     PLEASE TAKE FURTHER NOTICE THAT, UNLESS AN OBJECTION IS
TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, IT MAY NOT BE
CONSIDERED BY THE COURT AND THE COURT MAY GRANT THE RELIEF
REQUESTED WITHOUT FURTHER HEARING AND NOTICE.




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Dated: August 7, 2019
Wilmington, Delaware

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